                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 GREEN BAY DIVISION

ARMAMENT SYSTEMS AND
PROCEDURES, INC.

                      Plaintiff,                Civil Action No. 06-c-0833

v.                                              Judge William C. Griesbach

EMISSIVE, INC.,


                       Defendant/Third
                       Party Plaintiff,

v.

KEVIN PARSONS,

                       Third Party
                       Defendant.


                    STIPULATION OF DISMISSAL WITH PREJUDICE
                         PURSUANT TO FED. R. CIV. P. 41(a)(1)

       Plaintiff Armament Systems and Procedures, Inc. (“ASP”) and

Defendant/Counterclaimant Emissive Energy Corporation, having settled their dispute in the

above-captioned matter, hereby stipulate to the dismissal of all claims and counterclaims in the

above-captioned action, including Emissive’s claims against Third Party Defendant Kevin Parsons,

with prejudice pursuant to FED. R. CIV. P. 41(a)(1), with no interest, costs or fees to any party.




Respectfully submitted,                             Respectfully submitted,

/s/Steven E. Feldman                                /s/Jonathan H. Margolies
A. Sidney Katz                                      Jonathan H. Margolies, Esq.



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                                 CERTIFICATE OF SERVICE

I hereby certify that on June 5, 2008, I electronically filed a copy of the foregoing Stipulation of
Dismissal Without Prejudice with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to all Filing Users.


                                              /s/ Steven E. Feldman
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